UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

 In re: New York City Policing During Summer
 2020 Demonstrations
 ______________________________________

 This filing is related to:
                                                    Case No. 1:20-cv-08924-CM
 JARRETT PAYNE, et al. v. MAYOR BILL
 DE BLASIO, et al., Case No. 1:20-cv-08924-
 CM;                                                AMENDED
                                                    NOTICE OF APPEAL
 PEOPLE OF THE STATE OF NEW YORK v.
 CITY OF NEW YORK, et al., Case No. 1:21-
 cv-00322-CM;

 ADAM GRAY, et al. v. CITY OF NEW
 YORK, et al., Case No. 1:21-cv-06610-CM;

 and

 KAYLA ROLON, et al. v. CITY OF NEW
 YORK, et al., Case No. 1:21-cv-02548-CM.



        PLEASE TAKE NOTICE that, to alleviate any doubts as to the orders involved in its

appeal, the POLICE BENEVOLENT ASSOCIATION OF THE CITY OF NEW YORK, INC.

(“PBA”) hereby amends its notice of appeal to the United States Court of Appeals for the Second

Circuit (ECF 1156), to also include the orders of this Court, entered on April 17, 2024 (ECF 1167),

and May 15, 2024 (ECF 1174, 1175, No. 1:21-cv-02548-CM, ECF 97), formally entering the

stipulations of dismissal.




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Dated: May 17, 2024                        DECHERT LLP
       New York, NY
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